                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

UNITED STATES OF AMERICA                             )
                                                     )       Case No. 4:12-cr-15
v.                                                   )
                                                     )       MATTICE / LEE
CHAD A. MELTON                                       )


                              REPORT AND RECOMMENDATION


       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on June 13, 2012.

At the hearing, defendant moved to withdraw his not guilty plea to Count One of the five-count

Indictment and entered a plea of guilty to Count One of the Indictment, in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

in the plea agreement; the defendant understands the nature of the charge and penalties provided by

law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One of the Indictment be granted, his plea of guilty to Count One of the Indictment be accepted, the

Court adjudicate defendant guilty of the charges set forth in Count One of the Indictment, and a

decision on whether to accept the plea agreement be deferred until sentencing. Defendant filed a

motion to remain on bond after entry of his plea pending sentencing pursuant to 18 U.S.C. §§ 3143

& 3145(c) [Doc. 58]. The Government did not oppose the motion. I find exceptional circumstances




Case 4:12-cr-00015-HSM-SKL            Document 62        Filed 06/15/12    Page 1 of 2      PageID
                                            #: 125
are present in this matter. Therefore Defendant’s motion to remain on bond pending sentencing is

GRANTED [Doc. 58] and a separate Order has been entered on the record. Therefore, I further

RECOMMEND Defendant remain on bond under appropriate conditions of release until his

intensive outpatient treatment or his residence at the OASIS halfway house is terminated, whichever

occurs first. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.


                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




Case 4:12-cr-00015-HSM-SKL            Document 62        Filed 06/15/12       Page 2 of 2      PageID
                                            #: 126
